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 6                         IN THE UNITED STATES DISTRICT COURT
 7                                FOR THE DISTRICT OF ARIZONA
 8
 9   Louis Taylor,                                    No. CV-15-00152-TUC-RM
10                   Plaintiff,                       ORDER
11   v.
12   County of Pima, et al.,
13                   Defendants.
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15            Pending before the Court is Plaintiff Louis Taylor’s Motion to File Supplemental
16   Brief Under Seal. (Doc. 421.) Defendants do not oppose the temporary sealing of the

17   parties’ supplemental briefing. (Doc. 423; see also Doc. 420.)
18            IT IS ORDERED that Plaintiff’s Motion to File Supplemental Brief Under Seal

19   (Doc. 421) is granted. The Clerk of Court is directed to file Plaintiff’s Supplemental

20   Brief (lodged at Doc. 422) under seal. The Supplemental Brief shall remain sealed
21   pending further Order of the Court.
22            Dated this 23rd day of June, 2022.

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